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5
                         IN THE UNITED STATES DISTRICT COURT
6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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8                                          ) Case No.: CR.S. 10-425 MCE
     United States of America,             )
9                                          ) STIPULATION AND ORDER TO CONTINUE
                  Plaintiff,               ) JUDGMENT AND SENTENCING
10                                         )
          vs.                              ) Court: Hon. Morrison C. England
11                                         ) Time:   9:00 a.m.
                                           ) Date:   March 15, 2012
12   Julio Caeser-Xep,                     )
                                           )
13                Defendant
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16                Plaintiff, United States of America, by and through its
17   counsel, Assistant United States Attorney Paul A. Hemesath; defendant,
18
     Julio Cesar Xep, by and through his counsel, Shari Rusk; agree and
19
     stipulate to vacate the date set for judgment and sentencing, February
20
     23, 2012 at 9:00 a.m., in the above-captioned matter, and to continue
21
     the matter to March 15, 2012, and that date is available with the
22
     Court.    The parties asked that the matter be calendared for judgment
23
     and sentencing on March 15, 2012.
24
     Dated: February 20, 2012
25                                 BENJAMIN WAGNER United States Attorney
26
                                         By:     /s/ Paul A. Hemesath
27                                               PAUL A. HEMESATH
                                                 Assistant United States Attorney
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1                                                  /s/ Shari Rusk
                                                   SHARI RUSK
2                                                   Attorney for Defendant
                                                   JULIO CESAR XEP
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6                                                       ORDER
7                           IT IS SO ORDERED.
8

9    Dated:                    February 24, 2012
10                                                   __________________________________
11
                                                     MORRISON C. ENGLAND, JR
     DEAC_Signatur e-END:
                                                     UNITED STATES DISTRICT JUDGE
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